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7     Defendant MEDTRONIC USA, INC.

8                             UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA

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11    LINDA COTTER, an individual, and            CASE NO. 2:20-cv-02609-CJC- (PLAx)
      GEOFFREY COTTER, an individual,
12
                                                  ORDER RE STIPULATED
13          Plaintiffs,                           PROTECTIVE ORDER

14    v.                                           Courtroom:        780

15    MEDTRONIC USA, INC., and ERIC                Magistrate        Hon. Paul L. Abrams
                                                   Judge:
      RUDNER,
16

17          Defendants.

18

19          Having considered the papers, and finding that good cause exists, the Parties’
20    Stipulated Protective order is granted, as modified.

21                 IT IS SO ORDERED.
       DATED: January 11, 2021
22
                                                       Hon. Paul L. Abrams
23                                                     United States Magistrate Judge

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                                                   1
                                ORDER RE STIPULATED PROTECTIVE ORDER
